          Case: 1:14-cv-02283 Document #: 6 Filed: 06/13/14 Page 1 of 2 PageID #:10

 1

 2
                         UNITED STATES DISTRICT COURT
                                   FOR THE
 3                       NORTHERN DISTRICT OF ILLINOIS
 4
     SHERMAINE MILES,                         )
 5                                            )
                 Plaintiff,                   ) Case No.: 1:14-cv-2283
 6
           v.                                 )
 7                                            )
     PORTFOLIO RECOVERY                       ) NOTICE OF SETTLEMENT
 8   ASSOCIATES, LLC,                         )
 9
                                              )
                    Defendants.               )
10                                            )
                                              )
11

12                                NOTICE OF SETTLEMENT
13   TO THE CLERK:
14         PLEASE TAKE NOTICE that the parties have settled this action.
15
     Dispositional documents will be filed within sixty (60) calendar days.
16

17
       Date: June 13, 2014                     /s/ Amy L. Bennecoff
18                                             Amy L. Bennecoff, Esquire
                                               Kimmel & Silverman, P.C.
19                                             30 East Butler Pike
20
                                               Ambler, PA 19002
                                               Phone: (215) 540-8888
21                                             Fax: (215) 540-8817
                                               Email: abennecoff@creditlaw.com
22
                                               Attorney for the Plaintiff
23

24

25

26

27

28                                           -1-

                                    NOTICE OF SETTLEMENT

                                                                              1:14-cv-2283
          Case: 1:14-cv-02283 Document #: 6 Filed: 06/13/14 Page 2 of 2 PageID #:11

 1                             CERTIFICATE OF SERVICE
 2
     Filed electronically on this 13th day of June 2014, with:
 3
           United States District Court CM/ECF system
 4

 5   Notification sent by U.S. mail on this 13th day of June 2014, to:
 6
                  Keith S. McGurgan, Esq.
 7                Portfolio Recovery Associates
                  140 Corporate Boulevard
 8                Norfolk, VA 23502
 9

10
                                            By: /s/ Amy L. Bennecoff
                                            Amy L. Bennecoff
11                                          Kimmel & Silverman, P.C.
                                            Attorney for Plaintiff
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                           -2-

                                    NOTICE OF SETTLEMENT

                                                                              1:14-cv-2283
